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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                 ______________________

UNITED STATES OF AMERICA,

               Plaintiff,                             Case No. 1:05:CR:281
v.
                                                      HON. GORDON J. QUIST
LARRY TILLMAN,

            Defendant.
______________________________/

                                             ORDER

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge filed October 3, 2006, is

approved and adopted as the Opinion and Findings of this Court.

       2.      Defendant Larry Tillman's plea of guilty to Count 1 of the First Superseding

Indictment is accepted. Defendant Larry Tillman is adjudicated guilty and bond will be revoked at

the time of reporting.

       3.      Defendant Larry Tillman shall report to the United States Marshal in Grand Rapids,

Michigan, at 2:00 PM, Thursday, November 9, 2006. Defendant Larry Tillman shall be detained

pending sentencing.

       4.      A decision of whether to accept the written plea agreement will be made at the time

of sentencing after the Court has had the opportunity to review the Presentence Investigation Report.

See U.S.S.G. Ch. 6.


Dated: October 26, 2006                                     /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
